                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

KENNETH MARK HAY,

               Plaintiff,

               v.                                            CASE NO. 23-3175-JWL

KERI APPLEQUIST, et al.,

               Defendants.

                                             ORDER

       Plaintiff brings this pro se civil rights action under 42 U.S.C. § 1983. Plaintiff is civilly

committed to the SPTP at the Larned State Hospital in Larned, Kansas. This matter is before the

Court on Plaintiff’s Motion for Leave to Proceed In Forma Pauperis (Doc. 3). Plaintiff’s motion

indicates that he is indigent and unable to pay the filing fee. The Court grants the motion.

       IT IS THEREFORE ORDERED BY THE COURT that Plaintiff’s Motion for Leave

to Proceed In Forma Pauperis (Doc. 3) is granted.

       IT IS SO ORDERED.

       Dated August 1, 2023, in Kansas City, Kansas.

                                              S/ John W. Lungstrum
                                              JOHN W. LUNGSTRUM
                                              UNITED STATES DISTRICT JUDGE




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